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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                      Criminal No. 24cr10360
                                                  )
      UNITED STATES OF AMERICA                    )
                                                  )   Violation:
                                                  )
               v.                                 )   Count One: Conspiracy to Commit Health Care
                                                  )   Fraud
                                                  )   (18 U.S.C. § 1349)
      VISHNUDAT SEODAT,                           )
                                                  )   Forfeiture Allegation:
                       Defendant.                 )   (18 U.S.C. § 982(a)(7))
                                                  )

                                        INFORMATION


     At all times relevant to this Information:

                                  GENERAL ALLEGATIONS

       1.     Defendant VISHNUDAT SEODAT was a 75-year-old resident of Mattituck, New

York. SEODAT has been licensed as a medical doctor in the State of New York for

approximately 36 years. SEODAT practiced internal medicine in Long Island, New York.

       2.     Coconspirator Company Manager (“CC-1”) was the head salesperson for a

medical diagnostics company (“TCD Company”) that employed technicians to perform

transcranial Doppler (“TCD”) ultrasounds in doctors’ offices and at its own office. CC-1 paid

bribes on behalf of the TCD Company to induce doctors, including SEODAT, to order TCD

ultrasounds that TCD Company submitted to Medicare and other insurance companies for

payment based on fraudulent diagnoses.

       3.     Medicare was a federally funded health care program providing benefits to

persons who are 65 years of age or older or disabled. The United States Department of Health

and Human Services, through its agency, the Centers for Medicare and Medicaid Services
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(“CMS”), administered Medicare. Individuals who received benefits under Medicare were

referred to as Medicare “beneficiaries.”

         4.    Medicare was a “health care benefit program” as defined by 18 U.S.C. § 24(b),

and a “Federal health care program,” as defined by Title 42, United States Code, Section 1320a-

7b(f).

         5.    Medicare Part B paid for medically necessary outpatient medical services.

Medicare authorized payment for outpatient services if the care was actually provided and was

medically necessary; that is, the services were required because of disease, disability, infirmity,

or impairment. Medicare would not pay for services and treatment that were not actually

provided or for which that patient did not meet the criteria necessary to justify the claimed

service or treatment.

         6.    By becoming a participating provider in Medicare, enrolled providers agreed to

abide by the policies, procedures, rules, and regulations governing reimbursement, and

furthermore, certified that they would not knowingly present, or cause to be presented, false and

fraudulent claims. To participate as a Medicare provider and receive Medicare funds, enrolled

providers, together with their authorized agents, employees, and contractors, were required to

abide by all of the provisions of the Social Security Act, the regulations promulgated under the

Act, and applicable policies, procedures, rules, and regulations issued by CMS and its authorized

agents and contractors.

         7.    Upon certification, the medical provider, whether a clinic or an individual, was

assigned a provider identification number for Medicare billing purposes (referred to as an

“NPI”). When the medical provider rendered a service, the provider submitted or caused the


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submission of a claim for reimbursement to the Medicare contractor or carrier that included the

NPI assigned to that medical provider.

       8.      To receive reimbursement for a covered service from Medicare, a provider was

required to submit a claim, either electronically or using a form (e.g., a CMS-1500 form or UB-

92) containing the required information appropriately identifying the provider, patient, and

services rendered.

       9.      Health care providers were given, and provided with online access to, Medicare

manuals and services bulletins describing proper billing procedures and billing rules and

regulations. Providers could only submit claims to Medicare for services they rendered, and

providers were required to maintain patient records to verify that the services were provided as

described on the claim form. These records were required to be sufficient to permit Medicare,

through its contractors, to review the appropriateness of Medicare payments made to the health

care provider. Among other things, the requirements included providing an accurate diagnosis

and the nature of illness that was being treated.

       10.     Under the Social Security Act, for any item or service to be covered by Medicare,

it must have (1) been eligible for a defined Medicare benefit category, (2) been reasonable and

necessary for the diagnosis or treatment of illness or injury or to improve the functioning of a

malformed body member, and (3) met all other applicable Medicare statutory and regulatory

requirements. See 42 U.S.C. § 1395y.

       11.     Medicare regulations required health care providers enrolled with Medicare to

maintain complete and accurate patient medical records reflecting the medical assessment and

diagnoses of their patients as well as records documenting actual treatment of the patients to


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whom services were provided and for whom claims for payment were submitted or whose

submission was caused by the physician. Medicare required complete and accurate patient

medical records so that Medicare could verify that the services described on the claim form were

provided. These records were required to permit Medicare to review the appropriateness of

Medicare payments made to the health care provider.

                               The Federal Anti-Kickback Statute

       12.     To enroll as a Medicare provider, Medicare required providers to abide by

Medicare laws, regulations, and program instructions. Medicare further required providers to

certify that they understood that a payment of a claim by Medicare was conditioned upon the

claim and the underlying transaction complying with these laws, regulations, and program

instructions, including the Federal Anti-Kickback Statute. Accordingly, Medicare would not

pay claims procured through kickbacks and bribes.

                               Transcranial Doppler Ultrasounds

       13.     A transcranial Doppler ultrasound was a noninvasive diagnostic test that could be

used to estimate the blood flow through certain blood vessels in the brain by bouncing high-

frequency sound waves off blood vessels.

       14.     Medicare contractors may issue Local Coverage Determinations (“LCDs”) that

set forth when certain items or services are considered medically necessary (and thus covered) or

medically unnecessary (and thus not covered). During the relevant period, Medicare contractors

issued LCDs for non-invasive vascular studies, which included TCD ultrasounds.

       15.     The LCDs generally set forth that non-invasive vascular studies were medically

unnecessary unless (1) significant signs/symptoms of arterial or venous disease were present; (2)


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the information was necessary for appropriate medical and/or surgical management; and/or (3)

the test was not redundant of other diagnostic procedures that must have been performed.

        16.     LCD 27355, which was applicable in New York, among other states (including,

as of October 18, 2013, Massachusetts), to services performed between in or about June 2013

through in or about September 2015, set forth only eight medical reasons for which Medicare

would pay for TCD ultrasounds, which could include Healthcare Common Procedure Coding

System (“HCPCS”) procedure codes 93886 (Transcranial Doppler study of the intracranial

arteries; complete), 93890 (vasoreactivity study), and 93892 (emboli detection without

intravenous microbubble injection).1 These medical reasons were generally limited to suspected

or actual significant blockages of the blood vessels in the brain, blood flow for patients with

suspected brain death or undergoing certain operations, and conditions relating to aneurysms in

the brain. These diagnoses generally included neurovascular conditions such as cerebral

infarctions due to embolisms, brain death, vertebro-basilar artery syndrome (or vertebro-basilar

artery insufficiency) (“VBI”), or occlusion or stenosis of cerebral arteries, as well as conditions

relating to sickle-cell disease.

        17.     Federal regulations required that diagnostic tests could only be ordered by the

physician who was treating a beneficiary for a specific medical problem and who uses the results

in the management of the beneficiary’s specific medical problem. 42 C.F.R. § 410.32(a). Tests

ordered by the physician who was not treating the beneficiary were not reasonable and

necessary.


        1
         LCD 27355 was replaced by LCD 33627 to reflect an updated version of the national
reference for diagnostic codes. The coverage criteria for TCD ultrasounds generally did not
change.

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       18.     Medicare only covered a limited set of preventative services, which, in the context

of diagnostic tests, were commonly referred to as screening tests. The screening tests permitted

under Medicare’s rules, regulations, policies, and procedures did not include TCD ultrasounds.

       19.     Private insurance companies’ coverage criteria were generally similar to those

contained in the Medicare LCDs.

                         Overview of the Health Care Fraud Conspiracy

       20.     From at least June 2013 through in or about June 2019, SEODAT and CC-1,

together with others known and unknown, devised and executed a scheme to defraud health care

benefit programs affecting commerce, as defined in Title 18, United States Code, Section 24(b),

and to obtain by means of materially false and fraudulent pretenses, representations, and

promises, money and property owned by, and under the custody and control of health care

benefit programs, in connection with the delivery of and payment for health care benefits, items

and services, by causing the submission of materially false and fraudulent claims.

       21.     Beginning in or about June 2013, SEODAT entered into an agreement with CC-1

in which he agreed to refer patients for TCD ultrasounds using false diagnoses in exchange for

approximately $100 in cash for each patient referred for TCD ultrasounds.

       22.     From at least June 2013 through in or about June 2019, SEODAT signed

hundreds of orders for medically unnecessary TCD ultrasounds using false diagnoses to cause

Medicare and private insurance companies to pay for the testing.

       23.     SEODAT was aware that TCD Company, for much of the alleged conspiracy

period, operated in Massachusetts. TCD Company, CC-1, and others affiliated with TCD

Company engaged in similar conduct in Massachusetts that is part of the charged conspiracies.


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                     Object and Purpose of the Healthcare Fraud Conspiracy

       24.     The object and purpose of the conspiracy was for SEODAT and CC-1 to

unlawfully enrich themselves and others and to defraud health insurance plans of money by

falsifying patient diagnoses when ordering unnecessary medical testing, and thereby causing the

submission of materially false and fraudulent claims for those services to be submitted in

exchange for kickbacks.

                     Manner and Means of the Healthcare Fraud Conspiracy

       25.     The manner and means by which SEODAT, CC-1, and coconspirators known and

unknown, carried out the conspiracy and the scheme to defraud were the following:

                  a. Ordering TCD ultrasounds that were not medically necessary;

                  b. Falsifying patient diagnoses when ordering the TCD ultrasounds to cause

                      Medicare and private insurance companies to pay for the testing;

                  c. Soliciting and receiving cash and check kickback payments in exchange

                      for ordering the TCD ultrasounds;

                  d. Billing Medicare and private insurance companies for approximately $1

                      million in fraudulent claims; and

                  e. Paying and receiving approximately $52,100 in kickbacks.

                    Acts in Furtherance of the Healthcare Fraud Conspiracy

       26.     SEODAT and others known and unknown carried out the following acts in

furtherance of the healthcare fraud conspiracy and scheme to defraud:

               a. On or about March 10, 2014, SEODAT ordered a TCD ultrasound for a

                  patient with the initials M.H., which included the false diagnosis of VBI.


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     b. On or around April 1, 2016, SEODAT texted CC-1, asking “can you give me

        a payment on Wednesday[.] I [am] going out of town Thursday night [and]

        need some funds.” CC-1 responded, “Sure.”

     c. On or around October 2, 2017, CC-1 texted SEODAT a picture of the number

        of tests SEODAT had ordered the previous two months, asking if SEODAT

        wanted to suspend service because he had not ordered many tests.

     d. In or around February 2019, SEODAT received a cash kickback payment of

        $3,763, including for TCD ultrasounds SEODAT ordered from TCD

        Company.

     e. On or about June 28, 2019, TCD Company performed its last day of testing at

        SEODAT’s office.




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                                         COUNT ONE
                            Conspiracy to Commit Health Care Fraud
                                      (18 U.S.C. § 1349)

        The United States Attorney charges that:

        27.    The United States re-alleges and incorporates by reference paragraphs 1-26.

        28.    From at least in or about June 2013 through in or about June 2019, in the District

of Massachusetts and elsewhere, the defendant,

                                    VISHNUDAT SEODAT,

conspired with others known and unknown to the United States to commit health care fraud, that

is, to knowingly execute, and attempt to execute, a scheme and artifice to defraud a health care

benefit program affecting commerce, as defined in Title 18, United States Code, Section 24(b),

and to obtain moneys, funds, credits, assets, securities and other property owned by and under

the custody and control health care benefit programs, by means of materially false and fraudulent

pretenses, representations, and promises, in violation of Title 18, United States Code, Section

1347.

        All in violation of Title 18, United States Code, Section 1349.




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                                    FORFEITURE ALLEGATION
                                       (18 U.S.C. § 982(a)(7))

       The United States Attorney further alleges:

       29.     Upon conviction of the offense in violation of Title 18, United States Code,

Section 1349, set forth in Count One, the defendant,

                                      VISHNUDAT SEODAT

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(7),

any property, real or personal, that constitutes or is derived, directly or indirectly, from gross

proceeds traceable to the commission of the offense. The property to be forfeited includes, but

is not limited to, the following:

               a. $52,100 in United States currency, to be entered in the form of an Order of
                  Forfeiture (Money Judgment).
       30.     If any of the property described in Paragraph 29, above, as being forfeitable

pursuant to Title 18, United States Code, Section 982(a)(7), as a result of any act or omission of

the defendant—

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                  difficulty;




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it is the intention of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant up to the value of the property described in Paragraph 29 above.

       All pursuant to Title 18, United States Code, Section 982(a)(7).



                                                      JOSHUA S. LEVY
                                                      Acting United States Attorney



                                              By:     /s/ Howard Locker
                                                      HOWARD LOCKER
                                                      Assistant U.S. Attorney
Date: December 2, 2024




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